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                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

         BEFORE THE HONORABLE WILLIAM H. ALSUP, JUDGE

UNITED STATES OF AMERICA,         )
                                  )
           Plaintiff,             )
                                  )
  VS.                             )     No. CR 18-0290-7 WHA
                                  )
ARMANDO DANIEL CALDERON,          )
                                  )
           Defendant.             )
                                  )    San Francisco, California
                                       Tuesday, September 17, 2019



                    TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiff:            DAVID L. ANDERSON
                          UNITED STATES ATTORNEY
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                          San Francisco, California 94102
                    BY:   ERIN CORNELL
                          SHEILA ARMBRUST
                          ASSISTANT UNITED STATES ATTORNEYS

For Defendant:            ALAN A. DRESSLER, ESQ.
                          1390 N. McDowell Blvd, Suite G #32
                          Petaluma, California 94594-7104




Reported by:      Katherine Powell Sullivan, CSR #5812, CRR, RMR
                  Official Reporter - U.S. District Court
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1    Tuesday - September 17, 2019                           2:31 p.m.

2                           P R O C E E D I N G S

3                                  ---000---

4             THE CLERK:    Calling Criminal action 18-290,

5    United States versus Armando Daniel Calderon.

6         Counsel, please state your appearances for the record.

7             MS. CORNELL:    Good afternoon, Your Honor.       Erin

8    Cornell and Sheila Armbrust for the United States.

9             MR. DRESSLER:    Alan Dressler appearing for

10   Mr. Calderon, Your Honor.

11            THE COURT:    Mr. Calderon, welcome back.

12            THE DEFENDANT:    Thank you, Your Honor.

13            THE COURT:    How are you doing?

14            THE DEFENDANT:    Fine, Your Honor.

15            THE COURT:    Excellent.

16        Okay.   I've got to ask my law clerk, I'm confusing myself.

17   Is this one agreed to, this scheduling order agreed to, or is

18   that one that we did?

19        (The Court confers off the record with his law clerk.)

20            THE COURT:    So they haven't gotten this yet.

21        Okay.   Mr. Dressler, I guess, the question is when can you

22   try the case?    We worked up a schedule here for the trial on

23   February 10th.

24            MR. DRESSLER:    Could I have anytime in March, after

25   the 15th of March?
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1             THE COURT:    March?    I need the help of my -- I've got

2    so many trials in the air.      If it's available, yes.     So help me

3    out here.    When in March could we try this case?

4         Is it a two-week trial?

5             THE CLERK:    You have a criminal trial set for

6    March 9th.

7             THE COURT:    Which criminal case?

8             THE CLERK:    Nicolin.

9             THE COURT:    Yes.   Okay.   That one is going to go.

10        How about late February?

11            MR. DRESSLER:    I would really appreciate a later date

12   in March, if it's possible, Your Honor, just so I can properly

13   prepare for this.    There's a gigantic amount of discovery that

14   I have received.

15            THE COURT:    Look, I'm not trying to be hard here.

16        What day does Nicolin start?

17            THE CLERK:    The 9th.

18            THE COURT:    The 9th?

19            THE CLERK:    Yes.

20            THE COURT:    Is the 30th available, March 30?

21            THE CLERK:    Looks like it should be.

22            THE COURT:    It will be cutting it close for me.           I

23   may -- March 30th?

24            MR. DRESSLER:    That will be fine.

25            THE COURT:    When is the next criminal trial after
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1    March 30?

2              THE CLERK:   April 6th.

3              THE COURT:   That only gives me one week.

4              MR. DRESSLER:    I just asked the U.S. Attorney what her

5    estimate was of the trial, and she indicates 10 court days.

6              MS. CORNELL:    Ten might have been a little aggressive,

7    Your Honor.

8              THE COURT:   What?

9              MS. CORNELL:    Ten court days might have been a little

10   overbroad.

11             THE COURT:   Let's go with March 23rd.      I may have to

12   do two trials at once.    Literally, I mean that.

13        I've done three at once one time.       I'll do you in the

14   morning or the afternoon just to keep it going.        Then I finish

15   up the other trial if need be.      But I'm in a jam.     These are

16   all criminal cases.    None of these are civil cases.       Civil

17   cases are easy to bump.

18        We'll go with the -- what did I say, 23rd?        And then a

19   final pretrial conference on March 11th, at noon.         Can we do

20   that?   Actually, let's make it at 1:00 o'clock so the trial

21   will be over by then.

22        So what did we agree on, March?

23             THE CLERK:   March 23rd.

24             THE COURT:   23rd.   Here's what I want you to do.         And

25   then the final pretrial conference will be, what did I say?
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1             THE CLERK:    March 11th, at 1:00 o'clock.

2             THE COURT:    What I want you to do is take this

3    document, and you all confer over it.       And except for the two

4    dates I just gave you, I'm open to any reasonable adjustment.

5    But remember, you've got to give me time and my law clerk time

6    to read the paperwork.

7         So, for example, if you want some motion to -- Daubert,

8    that's a good one.    If you want to do a Daubert motion it takes

9    a lot of effort on my part.      So your schedule has got to give

10   me time to do my job.

11        So I'm going to give this to you, and then you all meet

12   and confer.   And if you can come up with an agreed upon for the

13   other dates then just hand it to Teresa at the end of the

14   hearing, and then I'll finalize it.

15        How's that?

16            MS. CORNELL:    Sounds great, Your Honor.

17            MR. DRESSLER:    That's fine, Your Honor.

18            THE COURT:    Is that all we have to do today?

19            MS. CORNELL:    I think so.

20            THE COURT:    So we need to exclude time until when?

21            MS. CORNELL:    March 23rd.

22            MR. DRESSLER:    Yes.

23            THE COURT:    March 23, for effective preparation?

24            MR. DRESSLER:    Yes, Your Honor.

25            THE COURT:    Okay.   Done.   Please do a stipulated order
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1    to that effect.

2             MS. CORNELL:    Thank you.

3             MR. DRESSLER:    Your Honor, do you want us to go do

4    this now?

5             THE COURT:    I would appreciate it if you would.           If

6    you think you need more time, I'll give you more time.         But I

7    need to get something in place.      All right.

8             MR. DRESSLER:    That's fine, Your Honor.

9             THE COURT:    Great.

10        Mr. Calderon, thank you.

11            THE DEFENDANT:    Thank you.

12            THE COURT:    We'll see you soon.     Good luck.

13            MS. ARMBRUST:    Thank you, Your Honor.

14            MS. CORNELL:    Thank you.

15        (At 2:36 p.m. the proceedings were adjourned.)

16                                 - - - - -

17

18                         CERTIFICATE OF REPORTER

19            I certify that the foregoing is a correct transcript

20   from the record of proceedings in the above-entitled matter.

21   DATE: Thursday, March 3, 2022

22

23

24           ______________________________________________

25           Katherine Powell Sullivan, CSR #5812, RMR, CRR
                           U.S. Court Reporter
